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                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
________________________________________________________________

JANE DOE                      :
                              :     No.
     v.                       :
                              :     JURY TRIAL DEMAND
SHIPPENSBURG UNIVERSITY OF    :
PENNSYLVANIA                  :
________________________________________________________________


                           CIVIL ACTION COMPLAINT


                           JURISDICTION AND VENUE

     1. This Court has jurisdiction over this matter pursuant to

the Title IX of the Education Amendments Act of 1972, 20 U.S.C.

§ 1681.

     2. Pursuant to 28 U.S.C. § 1391, venue is properly laid in

this judicial district because all off the acts and/or omissions

giving rise to the claims set forth herein occurred in this

Judicial District and Defendant is located in this Judicial

District.

                                    PARTIES

     3.     Plaintiff is an adult individual and citizen of

Pennsylvania living at 9025 Deerfield Commons, Shippensburg, PA

17257. “Jane Doe” is a pseudonym to avoid public disclosure of

the sexual harassment she suffered as set forth herein.

     4. Defendant Shippensburg University of Pennsylvania is

a public university in Shippensburg, Pennsylvania, and is part
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of the Pennsylvania State System of Higher Education and is

located at 1871 Old Main Drive, Shippensburg, PA 17257, which is

located in Cumberland County, Pennsylvania, which is located in

this Judicial District.

    5. At all times material hereto, Defendant acted through

its agents, servants, and employees, each of whom acted at all

times relevant herein in the course and scope of their

employment with and for Defendant.



                          FACTUAL BACKGROUND

    6.   Plaintiff is an adult female.

    7.   Plaintiff was accepted as a student in Defendant’s

Clinical Mental Health Master’s Program and she commenced her

studies in the fall semester of 2018.

    8.   As part of her admission package with Defendant,

Plaintiff was offered a position as a graduate assistant to

commence in August 2018, and plaintiff would receive

compensation from Defendant including an hourly wage and tuition

reimbursement to be used towards credits for completion of her

Master’s Degree with Defendant.

    9.   Plaintiff was at all times an excellent student and

employee of Defendant and was very quickly promoted to the

position of Director of Testing for Defendant.
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    10.   At all times material hereto, plaintiff’s direct

supervisor was Dr. Jane Roe (Female) who was an Assistant Dean

of Defendant’s Office of Professional, Continuing, and Distance

Education (hereinafter “OPCDE”).

    11.   In about January 2019, Dr. Roe started to make overt

sexual advances towards Plaintiff in that Dr. Roe propositioned

Plaintiff to participate in a ménage à trois with her and a man.

    12.   Plaintiff rejected this sexual advance.

    13.   Shortly after the January 2019 proposition, Plaintiff

approached the Dean of OPCDE to complain of Dr. Roe’s sexual

advance but before she could cite any details, the Dean told

Plaintiff that she did not want to hear about it.

    14. Thereafter, between January 2019 and the end of the

school year in April 2019, Dr. Roe made advances towards

Plaintiff between 2-4 times weekly, including repeating her

proposition to engage in a ménage à trois, showing Plaintiff

photographs and text messages of a sexual nature and flaunting

details about her sex-life.

    15.   During this time period, Dr. Roe also continued to

make inappropriate comments of a sexual nature at the workplace

knowing that her comments would be heard by Plaintiff.

    16.   For example, Dr. Roe texted Plaintiff on March 11,

2019, “hey guess what I found out? Daniel thought the night we
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invited him to the bar . . . he thought maybe we had [sic] a

threesome . . .”

       17. The following day, Plaintiff was approached by Dr. Roe

in the computer lab and was again asked if she would consider

having a threesome with Daniel.

       18. Plaintiff rejected or otherwise rebuffed each and every

one of Dr. Roe’s sexual advances and it should be noted that

Plaintiff played no part in inviting Daniel to a bar.

       19. In March/April 2019, Plaintiff accompanied Dr. Roe on a

business trip to Philadelphia.

       20.   During the Philadelphia trip, Dr. Roe asked Plaintiff

to look at photographs on Dr. Roe’s phone which showed Dr. Roe

nude and engaging in activities as a dominatrix with various

men.

       21.   Plaintiff told Dr. Roe that she “did not need to see

these photos”, at which point Dr. Roe responded with extreme

disappointment to Plaintiff’s rejection of the photographs.

       22. After Plaintiff and Dr. Roe returned from the

Philadelphia trip, Dr. Roe threatened Plaintiff’s job, and

warned her that she could suffer the same fate as the previous

Director of Testing (who was terminated by Dr. Roe) if she did

not respect and obey Dr. Roe because she was her boss.

       23.   Plaintiff understood this threat to mean that Dr. Roe

was trying to intimidate her to not reject her advances.
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    24.    Plaintiff again approached the Dean to complain of the

incidents of sexual harassment during and after the Philadelphia

trip.

    25.    The Dean again told Plaintiff she did not want to hear

it because Dr. Roe was her friend.

    26.    After the regular school year ended, Plaintiff did not

see Dr. Roe as often as during the regular school year.

    27.    However, during the late Spring and Summer months of

2019, Dr. Roe continued to make regular and pervasive sexual

advances towards Plaintiff and made inappropriate comments of a

sexual nature whenever the two were together.

    28.    In early to mid-August 2019, Plaintiff accompanied Dr.

Roe to a work-related conference in New Orleans, Louisiana, and

Dr. Roe asked for room key to Plaintiff’s room “in case I want

to visit in the middle of the night.”

    29.    Plaintiff refused Dr. Roe’s request.

    30.    About two days later and during the New Orleans trip,

Dr. Roe told Plaintiff that she was going to go on a dating

website to find a date and that she wanted Plaintiff to come on

the date with her.

    31.    Plaintiff refused this sexual advance and firmly

advised Dr. Roe that she had a boyfriend and did not do that

kind of thing.
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       32.   Dr. Roe was noticeably upset at Plaintiff’s rejection

of this proposition.

       33.   The following day, Dr. Roe confronted Plaintiff in

front of other attendees of the New Orleans conference by

yelling and cursing to Plaintiff that she would not have a job

when she returned to Shippensburg.

       34.   Dr. Roe then left early from New Orleans alleging that

she did not feel well, and might have to go to the hospital, and

then she then abandoned Plaintiff in New Orleans.

       35.   After Plaintiff returned from New Orleans, she asked

the Dean to work from home on August 12 and 13, 2019, because

was not comfortable returning to workplace until she talked to

her.

       36.   When Plaintiff returned to the office on August 14,

2019, she found that Dr. Roe told everyone that Plaintiff was no

longer employed with Defendant.

       37.   Plaintiff again approached the Dean to explain to her

what occurred during the New Orleans trip and the Dean again

refused to hear her story.

       38.   On or about August 20, 2019, Plaintiff was called into

a meeting with the Defendant’s Vice President of Human Resources

(hereinafter “VPHR”) and the Dean to discuss accusations that

she had engaged in “unprofessional behavior” during the New

Orleans trip.
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    39.   Plaintiff immediately explained that it was Dr. Roe

who was unprofessional and that Dr. Roe was lying to protect

herself and Plaintiff gave some of the details of the sexual

harassment to which she was subjected by Dr. Roe.

    40.   The VPHR asked why she did not complain about Dr.

Roe’s behavior in the past, and Plaintiff looked at the Dean and

said that she had tried.

    41.   The Dean did not deny that Plaintiff’s had approached

her to try to complain about Dr. Roe.

    42.   Plaintiff was told by the VPHR that the Defendant was

going to end her employment.

    43.   Plaintiff never returned to the workplace and she

received her last paycheck from Defendant on or about October

18, 2019, and her tuition benefits were discontinued at the end

of December 2019.

    44.   At the time of the August 20, 2019 meeting, the VPHR

also directed Plaintiff to put in a formal complaint of sexual

harassment with the Defendant’s Title IX Coordinator.

    45.   On or about August 22, 2019, Plaintiff made a sexual

harassment complaint to Defendant’s Title IX Coordinator.

    46.   Plaintiff sent in proof of harassment by attaching

text messages sent to her by Dr. Roe and describing some of the

harassment to which she was subjected.
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    47.     Dr. Roe was placed on leave by the Defendant and

resigned her position in lieu of termination within several

weeks after Plaintiff presented her evidence to the Title IX

Coordinator.

    48.       In November/December 2019, the VPHR, after learning

of the evidence supporting Plaintiff’s claims, said that he

would reconsider reinstating plaintiff’s employment with

Defendant in some capacity and that he would contact her to make

arrangements to do so, but he never did so to date.

    49.     For the aforementioned reasons, Plaintiff has

suffered, and will in the future suffer, damages including but

not limited to lost pay, lost tuition benefits and other

benefits, emotional pain and suffering, attorney’s fees and

costs.

    50.     Defendant’s management officials acted with

intentionally and with malice and with blatant disregard for

Plaintiff’s civil rights in terminating Plaintiff, refusing to

reinstate her employment, taking away her tuition benefits and

engaging in other discriminatory and retaliatory acts.



COUNT I-- Violation of Title IX-- Quid Pro Quo Sexual Harassment

    51. The foregoing paragraphs are incorporated herein as if

set forth in full.
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    52. Dr. Roe was the Assistant Dean and had significant, if

not controlling, input on Plaintiff’s success as a graduate

assistant and/or Director of Testing.

    53. Dr. Roe wanted to engage in a sexual relationship with

Plaintiff during Plaintiff’s educational program.

    54.    Plaintiff repeatedly rejected Dr. Roe’s advances.

    55.    Dr. Roe thereafter engaged in a series of acts

designed to threaten and end Plaintiff’s education-related

employment with Defendant.

    56. Dr. Roe acted within the scope of her educational

duties in retaliating against Plaintiff.

    57. Dr. Roe made a complaint against Plaintiff that led

directly to the decision to terminate Plaintiff from her

education-related employment with Defendant.

    58. Dr. Roe recommended that Plaintiff be removed from her

education-related employment with Defendant, and provided false

charges against Plaintiff in order to do so.

    59. Defendant and its agents acted as a cat’s paw and

rubber stamp for Dr. Roe’s decision to remove Plaintiff from her

education-related employment with Defendant.

    60. These actions constitute quid pro quo sexual harassment

against Plaintiff under Title IX of the Education Amendments Act

of 1972.
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     COUNT II--Intentional Infliction of Emotional Distress
        (Pennsylvania common law) (Respondeat Superior)

    61.      The foregoing paragraphs are incorporated herein as if

set forth in full.

    62.      Dr. Roe’s actions in repeatedly subjecting Plaintiff

to unwanted sexual advances were extreme and outrageous.

    63.      Dr. Roe’s act of retaliating against Plaintiff by

threatening her employment and lying that Plaintiff had been

unprofessional so that Plaintiff would be removed her from her

contract of employment with Defendant constitutes extreme and

outrageous conduct.

    64.      Plaintiff suffered severe emotional distress as a

result of Dr. Roe’s actions.

    65.      Dr. Roe performed her actions within the scope of her

employment with Defendant as the Assistant Dean of OPCDE.

    66. Dr. Roe’s actions constitute tortious intentional

infliction of emotional distress under Pennsylvania common law.

    67. Defendant is liable for the tortious intentional

infliction of emotional distress committed by Dr. Roe against

Plaintiff because it employed Dr. Roe as the Assistant Dean of

OPCDE.
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   COUNT III Negligent Supervision (Pennsylvania common law)

       68.   The foregoing paragraphs are incorporated herein as if

set forth in full.

       69.   Defendant failed to exercise ordinary care in

preventing Dr. Roe’s intentional harassment and retaliation

against Plaintiff.

       70. Some of Dr. Roe’s intentional harassment and

retaliation against Plaintiff occurred on Defendant’s premises.

       71. Defendant’s agent Dean of OPCDE, intentionally would

not hear complaints made by Plaintiff concerning Dr. Roe.

       72.   Defendant’s agent Dean of OPCDE, knew that Dr. Roe had

engaged in sexually harassing activities before Plaintiff was

admitted to Defendant’s educational program.

       73.   Defendant was on notice of the need to control

Dr. Roe because of her knowledge of Dr. Roe’s past sexual

harassment and Plaintiff’s repeated attempts to complaint to her

about Dr. Roe’s conduct.

       74. Plaintiff has suffered damages as a result of

Defendant’s actions and/or lack of actions in supervising Dr.

Roe.
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       WHEREFORE, Plaintiff prays that this Court enter an Order

providing that:

       1.   Defendant is to be prohibited from continuing to

maintain its illegal policy, practice, or custom of harassing,

discriminating, and retaliating against employees and students

and is to be ordered to promulgate an effective policy against

such unlawful activities and to adhere thereto;

       2.   Defendant is to compensate Plaintiff, reimburse

Plaintiff, and make Plaintiff whole for any and all pay and

benefits Plaintiff would have received had it not been for

Defendant’s illegal actions.

       3.   Plaintiff is to be awarded punitive damages, as

permitted by applicable law, to punish Defendant for its

willful, deliberate, malicious and outrageous conduct and to

deter Defendant or other educational institutions/employers from

engaging in such misconduct in the future;

       4.   Plaintiff is to be accorded damages for emotional

distress and/or pain and suffering and any and all other

equitable and legal relief as the Court deems just, proper, and

appropriate;

       5.   Plaintiff is to be awarded the costs and expenses of

this action and reasonable legal fees as provided by applicable

law;
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    6.   Plaintiff’s claims are to receive a trial by jury to

the extent allowed by applicable law.



                                  /s/ Samuel A. Dion
                                  ____________________________
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